        Case 3:17-cv-00072-NKM-JCH Document 433-1 Filed 02/28/19 Page 1 of 1 Pageid#: 4118
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            J-                                                                                   .




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    4                  UNITED STA TES DISTRICT COU RT FOR Tlv W ESTERN D ISTRICT OF VIRGW IA

    5                                         CHARLOU ESVILLE DIVISTION

    6      Elizabeth Sines,Et,Al   '
                                                             CaseN o.:3:17-c,
                                                                            v-00072-M G
                            .


    7                      Plaintië
    8      vs.                                               ORDER GRAN TING DEFEND ANT M OTION

    9      N ATION AL SO CIALIST M OV EM ENT,
10                         D efendant

11 . TO THE HONORABLE JUDGE OF SAID COURT:
12         The coud heard the defendants M otion forSummary Judgmentto this order. The courtfinds after
13         consideration forSumm aryJudgment,the defendantNationalSocialistMovementmotion be granted.
14           February27,2019

15               '

16                                                           Hon. Joelc.Hoppetcs.M agistrate Judge

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           ORDER GRAN TIN G DEFEN DANT M OTION -1
